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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ROSENTHAL & ROSENTHAL, INC.,
                    Plaintiff,
                                                                   20-CV-8651 (JPO)
                     -v-
                                                                         ORDER
 COFACE NORTH AMERICA
 INSURANCE CO.,
                    Defendant.


J. PAUL OETKEN, District Judge:

       This case was removed from New York Supreme Court, New York County, on October

16, 2020. Counsel for the plaintiff is directed to file an appearance with this Court no later than

November 2, 2020.

       Counsel for the defendant shall serve a copy of this order on counsel for the plaintiff by

October 27, 2020.

       SO ORDERED.

Dated: October 20, 2020
       New York, New York

                                              ____________________________________
                                                         J. PAUL OETKEN
                                                     United States District Judge
